   Case 2:10-md-02179-CJB-DPC Document 5795-5 Filed 02/21/12 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG           )   MDL NO. 2179
       “DEEPWATER HORIZON”                )
       in the GULF OF MEXICO,             )
       on APRIL 20, 2010                  )   SECTION: J
                                          )
This Document Relates To:                 )
                                          )   JUDGE BARBIER
In Re: TRITON ASSET LEASING,              )   MAG. JUDGE SHUSHAN
GmbH                                      )
Case No. 2:10-cv-2771-CJB-SS              )

                                         ORDER

       CONSIDERING the plaintiffs’ Motion for Leave to File Short Form Joinders In

Limitation (Doc. 5795),

       IT IS ORDERED that the motion is GRANTED. The short forms identified in

EXHIBIT B attached to the motion shall be considered timely filed answers and claims in

the Transocean Limitation, (Civil Action No. 10-2771), as well as joinder in the appropriate

Master Complaints.

       New Orleans, Louisiana, this the ____ day of ______________, 2012.




                                                 __________________________________
                                                       United States District Judge
